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                                                                              APPEAL,CAP,CAT B,HSD
                             U.S. District Court
                  District of Columbia (Washington, DC)
           CRIMINAL DOCKET FOR CASE #: 1:22−cr−00015−APM−3

Case title: USA v. RHODES, III et al                           Date Filed: 01/12/2022

Assigned to: Judge Amit P.
Mehta

Defendant (3)
KENNETH HARRELSON                      represented by Bradford L Geyer
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Pending Counts                                       Disposition
18:2384; SEDITIOUS
CONSPIRACY; Seditious
Conspiracy
(1)
18 U.S.C. 2384; SEDITIOUS
CONSPIRACY; Seditious
                                                     Jury Verdict of Not Guilty on 11/29/2022.
Conspiracy
(1s)
18:1512(k); TAMPERING
WITH WITNESS, VICTIM, OR
AN INFORMANT; Conspiracy
to Obstruct an Official

                                                                                                     1
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Proceeding
(2)
18 U.S.C. 1512(k);
TAMPERING WITH
WITNESS, VICTIM, OR AN
                                            Jury Verdict of Not Guilty on 11/29/2022.
INFORMANT; Conspiracy to
Obstruct an Official Proceeding
(2s)
18:1512(c)(2), 2; TAMPERING
WITH A WITNESS, VICTIM
OR INFORMANT; Obstruction
of an Official Proceeding and
Aiding and Abetting
(3)
18 U.S.C. 1512(c)(2), 2;
                                            Sentenced to 48 months of incarceration followed by
TAMPERING WITH A
                                            24 months of supervised release. These terms of
WITNESS, VICTIM OR
                                            incarceration and supervised release shall run
INFORMANT; Obstruction of
                                            concurrently with those imposed as to Counts 4s and
an Official Proceeding and
                                            9s. Special assessment imposed on this count in the
Aiding and Abetting
                                            amount of $100.
(3s)
18:372; CONSPIRE TO
IMPEDE OR INJURE
OFFICER; Conspiracy to
Prevent an Officer from
Discharging Any Duties
(4)
18 U.S.C. 372; CONSPIRE TO                  Sentenced to 48 months of incarceration followed by
IMPEDE OR INJURE                            24 months of supervised release. These terms of
OFFICER; Conspiracy to                      incarceration and supervised release shall run
Prevent an Officer from                     concurrently with those imposed as to Counts 3s and
Discharging Any Duties                      9s. Special assessment imposed on this count in the
(4s)                                        amount of $100.
18:1361, 2; GOVERNMENT
PROPERTY OR CONTRACTS;
Destruction of Government
Property and Aiding and
Abetting
(5)
18 U.S.C. 1361, 2;
GOVERNMENT PROPERTY
OR CONTRACTS >;
Destruction of Government                   Jury Verdict of Not Guilty on 11/29/2022.
Property and Aiding and
Abetting
(5s)
18 U.S.C. 1512(c)(1);                       Sentenced to 48 months of incarceration followed by
TAMPERING WITH A                            24 months of supervised release. These terms of


                                                                                                  2
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WITNESS, VICTIM OR                         incarceration and supervised release shall run
INFORMANT; Tampering with                  concurrently with those imposed as to Counts 3s and
Documents or Proceedings                   4s. Special assessment imposed on this count in the
(9s)                                       amount of $100.
18:1512(c)(1); TAMPERING
WITH A WITNESS, VICTIM
OR INFORMANT; Tampering
with Documents or Proceedings
(11)

Highest Offense Level
(Opening)
Felony

Terminated Counts                          Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                 Disposition
None



Interested Party
PRESS COALITION                        represented by Charles D. Tobin
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Date Filed   #   Docket Text
01/12/2022   1   SEALED INDICTMENT as to ELMER STEWART RHODES, III (1) count(s) 1, 2,
                 3, 4, 9, KELLY MEGGS (2) count(s) 1, 2, 3, 4, 5, 10, KENNETH HARRELSON (3)
                 count(s) 1, 2, 3, 4, 5, 11, JESSICA WATKINS (4) count(s) 1, 2, 3, 4, 5, 6, JOSHUA
                 JAMES (5) count(s) 1, 2, 3, 4, 7, 8, 12, ROBERTO A. MINUTA (6) count(s) 1, 2, 3,
                 4, 13, JOSEPH HACKETT (7) count(s) 1, 2, 3, 4, 5, 14, DAVID MOERSCHEL (8)
                 count(s) 1, 2, 3, 4, 5, 15, BRIAN ULRICH (9) count(s) 1, 2, 3, 4, 16, THOMAS


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                 EDWARD CALDWELL (10) count(s) 1, 2, 3, 4, 17, EDWARD VALLEJO (11)
                 count(s) 1, 2, 3, 4. (bb) (Entered: 01/14/2022)
01/12/2022   3   MOTION to Seal Case by USA as to ELMER STEWART RHODES, III(1), KELLY
                 MEGGS(2), KENNETH HARRELSON(3), JESSICA WATKINS(4), JOSHUA
                 JAMES(5), ROBERTO A. MINUTA(6), JOSEPH HACKETT(7), DAVID
                 MOERSCHEL(8), BRIAN ULRICH(9), THOMAS EDWARD CALDWELL(10),
                 EDWARD VALLEJO(11). (Attachments: # 1 Text of Proposed Order)(bb) (Entered:
                 01/14/2022)
01/12/2022   4   ORDER granting 3 Motion to Seal Case as to ELMER STEWART RHODES III (1),
                 KELLY MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4),
                 JOSHUA JAMES (5), ROBERTO A. MINUTA (6), JOSEPH HACKETT (7),
                 DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS EDWARD
                 CALDWELL (10), EDWARD VALLEJO (11). Signed by Judge Amit P. Mehta on
                 1/12/2022. (bb) (Entered: 01/14/2022)
01/13/2022       Case unsealed as to ELMER STEWART RHODES, III(1), KELLY MEGGS(2),
                 KENNETH HARRELSON(3), JESSICA WATKINS(4), JOSHUA JAMES(5),
                 ROBERTO A. MINUTA(6), JOSEPH HACKETT(7), DAVID MOERSCHEL(8),
                 BRIAN ULRICH(9), THOMAS EDWARD CALDWELL(10), EDWARD
                 VALLEJO(11). (bb) (Entered: 01/14/2022)
01/18/2022   7   MOTION for Order to Adopt the Record of Case No. 21−cr−28 by USA as to
                 ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                 JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH
                 HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD
                 CALDWELL, EDWARD VALLEJO. (Attachments: # 1 Text of Proposed
                 Order)(Nestler, Jeffrey) (Entered: 01/18/2022)
01/19/2022   8   ORDER granting 7 Motion for Order as to ELMER STEWART RHODES III (1),
                 KELLY MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4),
                 JOSHUA JAMES (5), ROBERTO A. MINUTA (6), JOSEPH HACKETT (7),
                 DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS EDWARD
                 CALDWELL (10), EDWARD VALLEJO (11). The court hereby adopts the record in
                 case 21−cr−28−APM through January 12, 2022, as the record in the instant case. See
                 attached Order for additional details. Signed by Judge Amit P. Mehta on 1/19/2022.
                 (lcapm1) (Entered: 01/19/2022)
01/20/2022   9   NOTICE of Certification in Response to Court's December 23, 2021 Order by USA
                 as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                 HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                 JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                 EDWARD CALDWELL, EDWARD VALLEJO (Nestler, Jeffrey) (Entered:
                 01/20/2022)
01/21/2022       MINUTE ORDER. The parties in this newly indicted matter shall appear for a
                 consolidated status conference with case 21−cr−28, as previously scheduled, on
                 Tuesday, January 25, 2022, at 11:00 a.m. Arrangements are being made for detained
                 defendants to participate remotely. The courtroom deputy will circulate
                 teleconference information to counsel and non−detained defendants. Members of the
                 public may access the conference by dialing the court's toll−free public access line:
                 (877) 848−7030, access code 321−8747. The public access line will be muted and
                 should only be used by non−participating parties. Signed by Judge Amit P. Mehta on


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                  1/21/2022. (lcapm1) (Entered: 01/21/2022)
01/24/2022        NOTICE OF HEARING as to ELMER STEWART RHODES, III (1), KELLY
                  MEGGS (2), KENNETH HARRELSON (3), JESSICA WATKINS (4), JOSHUA
                  JAMES (5), ROBERTO A. MINUTA (6), JOSEPH HACKETT (7), DAVID
                  MOERSCHEL (8), BRIAN ULRICH (9), THOMAS EDWARD CALDWELL (10):
                  Arraignment set for 1/25/2022 at 11:00 AM via videoconference before Judge Amit
                  P. Mehta. Members of the public may access the conference by dialing the
                  court's toll−free public access line: (877) 848−7030, access code 321−8747.(zjd)
                  (Entered: 01/24/2022)
01/25/2022        Minute Entry for proceedings held before Judge Amit P. Mehta: Arraignment as to
                  ELMER STEWART RHODES III (1), KELLY MEGGS (2), KENNETH
                  HARRELSON (3), JESSICA WATKINS (4), JOSHUA JAMES (5), ROBERTO A.
                  MINUTA (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), BRIAN
                  ULRICH (9), and THOMAS EDWARD CALDWELL (10) held via videoconference
                  on 1/25/2022. Plea of Not Guilty by ELMER STEWART RHODES III (1) as to
                  Counts 1, 2, 3, 4, and 9. Plea of Not Guilty by KELLY MEGGS (2) as to Counts 1, 2,
                  3, 4, 5, and 10. Plea of Not Guilty by KENNETH HARRELSON (3) as to Counts 1,
                  2, 3, 4, 5, and 11. Plea of Not Guilty by JESSICA WATKINS (4) as to Counts 1, 2, 3,
                  4, 5, and 6. Plea of Not Guilty by JOSHUA JAMES (5) as to Counts 1, 2, 3, 4, 7, 8,
                  and 12. Plea of Not Guilty by ROBERTO A. MINUTA (6) as to Counts 1, 2, 3, 4,
                  and 13. Plea of Not Guilty by JOSEPH HACKETT (7) as to Counts 1, 2, 3, 4, 5, and
                  14. Plea of Not Guilty by DAVID MOERSCHEL (8) as to Counts 1, 2, 3, 4, 5, and
                  15. Plea of Not Guilty by BRIAN ULRICH (9) as to Counts 1, 2, 3, 4, and 16. Plea of
                  Not Guilty by THOMAS EDWARD CALDWELL (10) as to Counts 1, 2, 3, 4, and
                  17. In the interests of justice, and for the reasons stated on the record, the time from
                  1/26/2022 through and including 3/4/2022 shall be excluded in computing the date
                  for speedy trial in this case. Status Conference set for 3/4/2022 at 1:00 PM via
                  videoconference before Judge Amit P. Mehta. Jury Trial set for 7/11/2022 at 9:30
                  AM in Ceremonial Courtroom before Judge Amit P. Mehta. Second Jury Trial set for
                  9/26/2022 at 9:30 AM in Ceremonial Courtroom before Judge Amit P. Mehta.
                  Members of the public may access the hearings by dialing the court's toll−free
                  public access line: (877) 848−7030, access code 321−8747. Bond Status of
                  Defendants: Rhodes (1) remains in−custody, Meggs (2) remains in−custody,
                  Harrelson (3) remains in−custody, Watkins (4) remains in−custody, James (5) placed
                  on PR/HISP, Minuta (6) placed on PR/HISP, Hackett (7) placed on PR/HISP,
                  Moerschel (8) placed on personal recognizance, Ulrich (9) placed on personal
                  recognizance, Caldwell (10) placed on PR/HISP; Court Reporter: William Zaremba;
                  Defense Attorneys: Philip Linder (1), Jonathan Moseley (2), Bradford Geyer (3),
                  Jonathan Crisp (4), Joan Robin (5), Chris Leibig (5), Alfred Guillaume (6), Angie
                  Halim (7), Scott Weinberg (9), A.J. Balbo (9), David Fischer (10); US Attorneys:
                  Kathryn Rakoczy and Jeffrey Nestler; Pretrial Officer: Christine Schuck. (zjd)
                  (Entered: 01/26/2022)
02/10/2022   44   STATUS REPORT REGARDING DISCOVERY by USA as to ELMER STEWART
                  RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                  JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                  MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                  VALLEJO (Rakoczy, Kathryn) (Entered: 02/10/2022)
03/04/2022        Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference as
                  to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH


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                  HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                  HACKETT (7), DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS
                  EDWARD CALDWELL (10), EDWARD VALLEJO (11) held via videoconference
                  on 3/4/2022. Defendant Vallejo (11) was not present for these proceedings. In the
                  interests of justice, and for the reasons stated on the record, the time from 3/5/2022
                  through and including 4/8/2022 shall be excluded in computing the date for speedy
                  trial in this case. Status Conference set for 4/8/2022 at 10:00 AM via videoconference
                  before Judge Amit P. Mehta. Members of the public may access the hearings by
                  dialing the court's toll−free public access line: (877) 848−7030, access code
                  321−8747. Bond Status of Defendants: Rhodes (1) remains in−custody, Meggs (2)
                  remains in−custody, Harrelson (3) remains in−custody, Watkins (4) remains
                  in−custody, Minuta (6) placed on PR/HISP, Hackett (7) placed on PR/HISP,
                  Moerschel (8) placed on personal recognizance, Ulrich (9) placed on personal
                  recognizance, Caldwell (10) placed on PR/HISP; Court Reporter: William Zaremba;
                  Defense Attorneys: Philip Linder (1), James Bright (1), Jonathan Moseley (2),
                  Bradford Geyer (3), Jonathan Crisp (4), Alfred Guillaume (6), Angie Halim (7), Scott
                  Weinberg (8), A.J. Balbo (9), David Fischer (10); Matthew Peed (11) US Attorneys:
                  Kathryn Rakoczy and Jeffrey Nestler; Pretrial Officer: Christine Schuck. (zjd)
                  (Entered: 03/04/2022)
03/11/2022        MINUTE ORDER. The 39 court order requiring Defendant ELMER STEWART
                  RHODES, III (1), to remain at his present facility in Oklahoma is hereby lifted. The
                  U.S. Marshals Service may move Defendant Rhodes to a facility that it determines to
                  be appropriate. Signed by Judge Amit P. Mehta on 3/11/2022. (lcapm1) (Entered:
                  03/11/2022)
03/15/2022   64   ORDER as to Defendants ELMER STEWART RHODES, III, KELLY MEGGS,
                  KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                  JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                  EDWARD CALDWELL, and EDWARD VALLEJO. Trial is set to commence in
                  this matter on July 11, 2022, at 9:30 a.m. The following deadlines shall govern this
                  matter: (1) parties shall file their pretrial motions (other than motions in limine) on or
                  before April 15, 2022; (2) oppositions to pretrial motions shall be filed on or before
                  April 29, 2022; (3) replies to pretrial motions shall be filed on or before May 6, 2022;
                  (4) counsel shall reserve May 17, 2022, at 1:00 p.m. for a hearing on pretrial motions,
                  if necessary; (5) the United States shall make any required expert disclosures by May
                  23, 2022; (6) Defendants shall make any required reciprocal expert disclosures by
                  June 6, 2022; (7) the United States shall notify Defendant of its intention to introduce
                  any Rule 404(b) evidence not already disclosed on or before June 13, 2022; (8)
                  motions in limine shall be filed on or before June 3, 2022; (9) oppositions to motions
                  in limine shall be filed on or before June 17, 2022; (10) replies in support of motions
                  in limine shall be filed on or before June 24, 2022; (11) any motions in limine by the
                  United States shall be filed by June 16, 2022; (12) oppositions to such motions shall
                  be filed by June 24, 2022; (13) Defendants shall satisfy their reciprocal discovery
                  obligations, if any, by June 23, 2022; (14) the United States shall file any motion in
                  limine pursuant to such discovery by June 30, 2022; (15) oppositions to such motions
                  shall be filed by July 6, 2022; (16) the United States should endeavor to make grand
                  jury and Jencks Act disclosures as to each witness it expects to call in its
                  case−in−chief and disclose any Brady material not already disclosed on or before
                  July 1, 2022; (17) the parties shall file a draft Joint Juror Questionnaire by June 6,
                  2022; (18) qualified prospective jurors will appear on June 27, 2022 to answer the
                  finalized version of the Questionnaire; (19) the parties' Joint Pretrial Statement is due


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                  on or before June 24, 2022; (20) the parties shall submit a Word format copy of (a)
                  any proposed modification to a standard jury instruction, (b) any non−standard jury
                  instruction, and (c) the verdict form on or before June 24, 2022; and (21) the Pretrial
                  Conference previously scheduled for July 6, 2022, is hereby vacated and rescheduled
                  for July 1, 2022, at 10:00 a.m. in Courtroom 10. See the attached Order for additional
                  details. Signed by Judge Amit P. Mehta on 3/15/2022. (lcapm1) (Entered:
                  03/15/2022)
03/19/2022   66   MOTION to Continue Trial by ROBERTO A. MINUTA as to ELMER STEWART
                  RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                  JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                  MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                  VALLEJO. (Guillaume, Alfred) (Entered: 03/19/2022)
03/21/2022   67   RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                  KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                  MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                  THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 66 MOTION to
                  Continue Trial (Rakoczy, Kathryn) (Entered: 03/21/2022)
03/29/2022   68   ORDER denying 65 Motion to Continue Deadline for Filing Rule 12(b) Motions and
                  denying 66 Motion to Continue Trial. See the attached Order for additional details.
                  Signed by Judge Amit P. Mehta on 3/29/2022. (lcapm1) (Entered: 03/29/2022)
04/07/2022   76   TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to ELMER
                  STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                  WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                  MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                  VALLEJO before Judge Amit P. Mehta held on March 4, 2022; Page Numbers:
                  1−72. Date of Issuance: April 7, 2022. Court Reporter/Transcriber: William
                  Zaremba; Telephone number: (202) 354−3249. Transcripts may be ordered by
                  submitting the Transcript Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court reporter referenced
                  above. After 90 days, the transcript may be accessed via PACER. Other transcript
                  formats, (multi−page, condensed, PDF or ASCII) may be purchased from the court
                  reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                  days to file with the court and the court reporter any request to redact personal
                  identifiers from this transcript. If no such requests are filed, the transcript will be
                  made available to the public via PACER without redaction after 90 days. The policy,
                  which includes the five personal identifiers specifically covered, is located on our
                  website at www.dcd.uscourts.gov.

                  Redaction Request due 4/28/2022. Redacted Transcript Deadline set for 5/8/2022.
                  Release of Transcript Restriction set for 7/6/2022.(wz) (Main Document 76 replaced
                  on 4/22/2022) (zltp). (Entered: 04/07/2022)
04/08/2022   79   ORDER granting 73 Unopposed Motion to Modify Conditions of Release as to
                  THOMAS EDWARD CALDWELL (10). See the attached Order for additional
                  details. Signed by Judge Amit P. Mehta on 4/7/2022. (lcapm1) (Entered: 04/08/2022)


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04/08/2022         Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference as
                   to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                   HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                   HACKETT (7), DAVID MOERSCHEL (8), BRIAN ULRICH (9), THOMAS
                   EDWARD CALDWELL (10), EDWARD VALLEJO (11) held via videoconference
                   on 4/8/2022. In the interests of justice, and for the reasons stated on the record, the
                   time from 4/9/2022 through and including 7/11/2022 shall be excluded in computing
                   the date for speedy trial as to defendants HARRELSON (3), WATKINS (4),
                   HACKETT (7), MOERSCHEL (8), and CALDWELL (10). In the interests of justice,
                   and for the reasons stated on the record, the time from 4/9/2022 through and
                   including 9/26/222 shall be excluded in computing the date for speedy trial as to
                   RHODES (1), MEGGS (2), MINUTA (6), ULRICH (9), and VALLEJO (11). Status
                   Conference as to MEGGS (2) set for 4/22/2022 at 9:00 AM via videoconference
                   before Judge Amit P. Mehta. Status Conference as to HARRELSON (3), WATKINS
                   (4), HACKETT (7), MOERSCHEL (8), and CALDWELL (10) set for 5/6/2022 at
                   1:00 PM via videoconference before Judge Amit P. Mehta. Status Conference as to
                   RHODES (1), MEGGS (2), MINUTA (6), ULRICH (9), and VALLEJO (11) set for
                   5/6/2022 at 02:30 PM via videoconference before Judge Amit P. Mehta. Members of
                   the public may access the hearings by dialing the court's toll−free public access line:
                   (877) 848−7030, access code 321−8747. Bond Status of Defendants: Rhodes (1)
                   remains in−custody, Meggs (2) remains in−custody, Harrelson (3) remains
                   in−custody, Watkins (4) remains in−custody, Minuta (6) remains on PR/HISP,
                   Hackett (7) remains on PR/HISP, Moerschel (8) remains on personal recognizance,
                   Ulrich (9) remains on personal recognizance, Caldwell (10) remains on PR/HISP,
                   Vallejo (11) remains in−custody; Court Reporter: William Zaremba; Defense
                   Attorneys: Philip Linder (1), Jonathan Moseley (2), Bradford Geyer (3), Jonathan
                   Crisp (4), Alfred Guillaume, III and William Shipley, Jr. (6), Angie Halim (7), Scott
                   Weinberg (8), A.J. Balbo (9), David Fischer (10), Matthew Peed (11); US Attorney:
                   Kathryn Rakoczy. (zjd) (Entered: 04/21/2022)
04/13/2022         MINUTE ORDER. Counsel for Defendant KELLY MEGGS, Jonathon Moseley,
                   shall refrain from filing any additional motions on behalf of Defendant Meggs while
                   action on Mr. Moseley's bar status before this District Court remains pending. At this
                   juncture, Mr. Moseley remains only caretaker counsel until successor counsel enters
                   an appearance. The court will consider those motions already filed by Mr. Moseley,
                   but no more, absent exigent circumstances and leave of court. The court will
                   accommodate the need for additional time for Defendant Meggs to file Rule 12
                   motions upon entry of successor counsel. Signed by Judge Amit P. Mehta on
                   4/13/2022. (lcapm1) (Entered: 04/13/2022)
04/16/2022    94   MOTION to Dismiss Count One, MOTION to Strike Surplussage by EDWARD
                   VALLEJO as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                   HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                   JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                   EDWARD CALDWELL, EDWARD VALLEJO. (Attachments: # 1 Text of
                   Proposed Order)(Peed, Matthew) (Entered: 04/16/2022)
04/19/2022   155   LEAVE TO FILE DENIED− Second motion for Dual Appellate and quad writ en
                   banc as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                   HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                   JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                   EDWARD CALDWELL, EDWARD VALLEJO This document is unavailable as the
                   Court denied its filing. Signed by Judge Amit P. Mehta on 4/18/2022. (zltp) (Entered:

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                   06/15/2022)
04/19/2022   156   LEAVE TO FILE DENIED− Third motion for Dual Appellate and quad writ en banc
                   as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                   HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                   JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                   EDWARD CALDWELL, EDWARD VALLEJO This document is unavailable as the
                   Court denied its filing. Signed by Judge Amit P. Mehta on 4/18/2022. (zltp) (Entered:
                   06/15/2022)
04/19/2022   157   LEAVE TO FILE DENIED− Fourth & Fifth motion for Dual Appellate and quad
                   writ en banc as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                   HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                   JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                   EDWARD CALDWELL, EDWARD VALLEJO This document is unavailable as the
                   Court denied its filing. Signed by Judge Amit P. Mehta on 4/18/2022. (zltp) (Entered:
                   06/15/2022)
04/19/2022   158   LEAVE TO FILE DENIED− Nineteenth Notice as to ELMER STEWART
                   RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                   JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                   MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                   VALLEJO This document is unavailable as the Court denied its filing. Signed by
                   Judge Amit P. Mehta on 4/18/2022. (zltp) (Entered: 06/15/2022)
04/21/2022   103   NOTICE of Joinder as to ECF 82 , 84 , 85 , 89 , 90 (as to Count 11), 91 (as to Count
                   11), 93 , 94 and 95 . by KENNETH HARRELSON (Geyer, Bradford) Modified text
                   to include linkage and remove unassociated defendants on 5/6/2022 (zltp). (Entered:
                   04/21/2022)
04/26/2022   106   MOTION to Continue Deadline for Responding to Rule 12 Motions by USA as to
                   ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                   JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH
                   HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD
                   CALDWELL, EDWARD VALLEJO. (Rakoczy, Kathryn) (Entered: 04/26/2022)
04/27/2022         MINUTE ORDER granting in part the United States' 106 Motion for Extension of
                   Deadline to Respond to Defendants' Rule 12 Motions. Given the court's schedule, the
                   requested seven−day extension of both the opposition and reply deadlines will not
                   allow enough time for the court to adequately prepare for the hearing, if briefing were
                   to close on May 13, 2022. The court will grant a five−day extension, such that the
                   United States' response shall be due on May 4, 2022, and Defendants' replies shall be
                   due on May 11, 2022. Signed by Judge Amit P. Mehta on 4/27/2022. (lcapm1)
                   (Entered: 04/27/2022)
04/29/2022   113   ORDER granting 110 Unopposed Motion to Modify Conditions of Release as to
                   THOMAS EDWARD CALDWELL (10). See the attached Order for additional
                   details. Signed by Judge Amit P. Mehta on 4/29/2022. (lcapm1) (Entered:
                   04/29/2022)
05/01/2022         MINUTE ORDER granting 111 , 112 Sealed Motions for Leave to File Documents
                   Under Seal as to Defendant ROBERTO A. MINUTA (6). (These documents are
                   SEALED and only available to authorized persons.) The Clerk of Court shall
                   maintain 111 , 112 under seal. Defendant shall file public versions of those motions
                   by May 4, 2022, redacting only those portions that pertain to Defendant's personal

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                   financial circumstances. Signed by Judge Amit P. Mehta on 5/1/2022. (lcapm1)
                   (Entered: 05/01/2022)
05/04/2022   120   RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                   KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                   MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                   THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 93 MOTION to
                   Change Venue (Attachments: # 1 Exhibit Appendix of Transcript
                   Citations)(Rakoczy, Kathryn) (Entered: 05/04/2022)
05/04/2022   121   RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                   KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                   MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                   THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 91 MOTION to Sever
                   Count(s) 14, 90 MOTION to Dismiss Count 14 (Rakoczy, Kathryn) (Entered:
                   05/04/2022)
05/04/2022   123   RESPONSE by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                   KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                   MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                   THOMAS EDWARD CALDWELL, EDWARD VALLEJO re 89 MOTION to
                   Dismiss Count 1, 2, 3, and 4, 82 MOTION to Dismiss Count I of the Seventh
                   Superseding Indictment, adopting and supplementing Motion to Dismiss of Thomas
                   Caldwell, incorporated by reference herein, 84 MOTION to Dismiss Count 1, 2, 3
                   and 4 of the Indictment, 94 MOTION to Dismiss Count One MOTION to Strike
                   Surplussage (Rakoczy, Kathryn) (Entered: 05/04/2022)
05/05/2022         MINUTE ORDER. The pending 124 Motion to Continue Trial potentially impacts
                   both trial groups, so the court will hold a combined status hearing in this matter as to
                   all Defendants on May 6, 2022. The combined hearing will begin at 2:00 p.m. Signed
                   by Judge Amit P. Mehta on 5/5/2022. (lcapm1) (Entered: 05/05/2022)
05/05/2022   127   WITHDRAWN BY COUNSEL DURING MOTION HEARING ON
                   5/17/2022.....First MOTION for Discovery of Material Witnesses by KENNETH
                   HARRELSON. (Attachments: # 1 Text of Proposed Order, # 2 Exhibit
                   Redacted)(Geyer, Bradford) Modified text to remove unassociated defendants on
                   5/6/2022 (zltp). Modified on 5/17/2022 (zjd). (Entered: 05/05/2022)
05/06/2022         ***Set/Reset Hearings. (zjd) (Entered: 05/06/2022)
05/06/2022         Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference as
                   to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                   HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                   HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                   (10), and EDWARD VALLEJO (11) held via videoconference on 5/6/2022. For the
                   reasons stated on the record, the Court grants 124 Defendant's Motion to Continue
                   Trial. Jury Trial shall proceed on September 26, 2022 for defendants Rhodes (1),
                   Meggs (2), Harrelson (3), Watkins (4), and Caldwell (10). A second Jury Trial shall
                   take place on November 29, 2022 for defendants Minuta (6), Hackett (7), Moerschel
                   (8), and Vallejo (11). In the interests of justice, the time from 5/7/2022 through and
                   including 9/26/2022 shall be excluded in computing the date for speedy trial as to
                   defendants Rhodes (1), Meggs (2), Harrelson (3), Watkins (4), and Caldwell (10). In
                   the interests of justice, the time from 5/7/2022 through and including 11/29/2022
                   shall be excluded in computing the date for speedy trial as to defendants Minuta (6),


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                   Hackett (7), Moerschel (8), and Vallejo (11). Bond Status of Defendants: Rhodes (1)
                   remains in−custody, Meggs (2) remains in−custody, Harrelson (3) remains
                   in−custody, Watkins (4) remains in−custody, Minuta (6) remains on PR/HISP,
                   Hackett (7) remains on PR/HISP, Moerschel (8) remains on personal recognizance,
                   Caldwell (10) remains on PR/HISP, Vallejo (11) remains on PR/HISP; Court
                   Reporter: William Zaremba; Defense Attorneys: James Bright (1), Phillip Linder (1),
                   Jonathan Moseley as caretaker counsel (2); Bradford Geyer (3), Jonathan Crisp (4),
                   Alfred Guillaume (6), William Shipley (6), Angela Halim (7), Scott Weinberg (8),
                   David Fischer (10), and Matthew Peed (11); US Attorney: Kathryn Rakoczy. (zjd)
                   (Entered: 05/06/2022)
05/10/2022         MINUTE ORDER granting 130 Consent Motion for Extension of Time to File
                   Response/Reply as to THOMAS EDWARD CALDWELL (10). Defendant
                   THOMAS EDWARD CALDWELL's (10) Reply is now due on May 12, 2022.
                   Signed by Judge Amit P. Mehta on 5/10/2022. (lcapm1) (Entered: 05/10/2022)
05/12/2022   133   ORDER as to Defendants ELMER STEWART RHODES, III, KELLY MEGGS,
                   KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA,
                   JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD CALDWELL,
                   and EDWARD VALLEJO. Trial is set to commence in this matter on September 26,
                   2022, at 9:30 a.m., for the September Trial Group and on November 29, 2022, at 9:30
                   a.m., for the November Trial Group. The following deadlines shall govern this
                   matter: (1) parties shall file their pretrial motions (other than motions in limine) on or
                   before April 15, 2022; (2) oppositions to pretrial motions shall be filed on or before
                   May 4, 2022; (3) replies to pretrial motions shall be filed on or before May 11, 2022;
                   (4) counsel shall reserve May 17, 2022, at 1:00 p.m. for a hearing on pretrial motions,
                   if necessary; (5) the United States shall make any required expert disclosures by June
                   23, 2022; (6) Defendants shall make any required reciprocal expert disclosures by
                   July 22, 2022; (7) the United States shall notify the September Trial Group of its
                   intention to introduce any Rule 404(b) evidence not already disclosed on or before
                   July 8, 2022; (8) the United States shall notify the November Trial Group of any
                   additional Rule 404(b) evidence by October 10, 2022; (9) motions in limine for the
                   September Trial Group shall be filed on or before July 29, 2022; (10) oppositions to
                   those motions in limine shall be filed on or before August 12, 2022; (11) replies in
                   support of motions in limine shall be filed on or before August 19, 2022; (12) any
                   November Trial Group Defendant may file an individualized motion in limine by the
                   July 29, 2022 deadline; otherwise, upon filing of a notice, the court will treat the
                   November Trial Group as having joined in the motions in limine filed by the
                   September Trial Group; (13) additional motions in limine can be filed by the
                   November Trial Group by October 31, 2022; (14) oppositions to those motions in
                   limine shall be filed by November 10, 2022; (15) replies shall be filed by November
                   15, 2022; (16) any motions in limine by the United States shall be filed by August 12,
                   2022; (17) oppositions to such motions shall be filed by August 26, 2022; (18)
                   Defendants shall satisfy their reciprocal discovery obligations, if any, by July 22,
                   2022; (19) the United States shall file any motion in limine pursuant to such
                   discovery by August 12, 2022; (20) oppositions to such motions shall be filed by
                   August 26, 2022; replies to such motions shall be filed by September 2, 2022; (21)
                   the United States should endeavor to make grand jury and Jencks Act disclosures as
                   to each witness it expects to call in its case−in−chief and disclose any Brady material
                   not already disclosed on or before September 12, 2022; (22) the Jencks/Brady
                   deadline for the November Trial Group is November 15, 2022; (23) the parties shall
                   file a draft Joint Juror Questionnaire by August 23, 2022; (24) qualified prospective


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                   jurors will appear on September 13, 2022 to answer the finalized version of the
                   Questionnaire; (25) qualified prospective jurors for the November trial shall appear
                   on November 10, 2022 to answer the final version of the questionnaire; (26) the
                   September Trial Group's Joint Pretrial Statement is due on or before September 7,
                   2022; (27) the November Trial Group's Joint Pretrial Statement is due on November
                   15, 2022; (28) the parties shall submit a Word format copy of (a) any proposed
                   modification to a standard jury instruction, (b) any non−standard jury instruction, and
                   (c) the verdict form; and (29) the Pretrial Conference is scheduled for September 14,
                   2022, at 9:30 a.m., in Courtroom 10 for the September Trial Group; (30) the Pretrial
                   Conference is scheduled for November 22, 2022, at 9:30 a.m., for the November
                   Trial Group. See the attached Order for additional details. Signed by Judge Amit P.
                   Mehta on 5/12/2022. (lcapm1) (Entered: 05/12/2022)
05/17/2022         Minute Entry for proceedings held before Judge Amit P. Mehta: Hearing on Rule 12
                   Motions as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2),
                   KENNETH HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA
                   (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD
                   CALDWELL (10), and EDWARD VALLEJO (11) held on 5/17/2022. Arguments
                   heard and taken under advisement. Defendant Harrelson's Oral Motion to Withdraw
                   127 Motion for Discovery was heard and granted. Status Conference set for
                   6/24/2022 at 1:00 PM via videoconference before Judge Amit P. Mehta. Members of
                   the public may access the conference by dialing the court's toll−free public access
                   line: (877) 848−7030, access code 321−8747. Bond Status of Defendant: Rhodes (1)
                   remains in−custody, Meggs (2) remains in−custody, Harrelson (3) remains
                   in−custody, Watkins (4) remains in−custody, Minuta (6) remains on PR/HISP,
                   Hackett (7) remains on PR/HISP, Moerschel (8) remains on PR/HISP; appearance
                   waived, Caldwell (10) remains on PR/HISP; appearance waived, Vallejo (11)
                   remains on PR/HISP. Court Reporter: William Zaremba; Defense Attorneys: Phillip
                   Linder (1), Stanley Woodward (2), Juli Haller (2), Bradford Geyer (3), Jonathan
                   Crisp (4), William Shipley (6), Angela Halim (7), Scott Weinberg (8), David Fischer
                   (10), and Matthew Peed (11); US Attorneys: Jeffrey Nestler and Kathryn Rakoczy.
                   (zjd) (Entered: 05/17/2022)
05/20/2022         MINUTE ORDER. The United States shall file by October 28, 2022, an additional
                   Status Report as to whether a sentencing hearing should be set for Defendants
                   JOSHUA JAMES and BRIAN ULRICH; if so, the United States shall propose two
                   dates and times for such hearings. Signed by Judge Amit P. Mehta on 5/20/2022.
                   (lcapm1) (Entered: 05/20/2022)
06/03/2022   151   TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to ELMER
                   STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                   WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                   MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                   Judge Amit P. Mehta held on May 6, 2022; Page Numbers: 1−66. Date of Issuance:
                   June 3, 2022. Court Reporter/Transcriber: William Zaremba; Telephone number:
                   (202) 354−3249. Transcripts may be ordered by submitting the T ranscript Order
                   Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced
                   above. After 90 days, the transcript may be accessed via PACER. Other transcript
                   formats, (multi−page, condensed, PDF or ASCII) may be purchased from the court
                   reporter.

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                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                   days to file with the court and the court reporter any request to redact personal
                   identifiers from this transcript. If no such requests are filed, the transcript will be
                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.

                   Redaction Request due 6/24/2022. Redacted Transcript Deadline set for 7/4/2022.
                   Release of Transcript Restriction set for 9/1/2022.(wz) (Entered: 06/03/2022)
06/17/2022   159   TRANSCRIPT OF MOTION HEARING PROCEEDINGS in case as to ELMER
                   STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                   WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                   MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                   Judge Amit P. Mehta held on May 17, 2022; Page Numbers: 1−165. Date of
                   Issuance: June 17, 2022. Court Reporter/Transcriber: William Zaremba; Telephone
                   number: (202) 354−3249. Transcripts may be ordered by submitting the T ranscript
                   Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced
                   above. After 90 days, the transcript may be accessed via PACER. Other transcript
                   formats, (multi−page, condensed, PDF or ASCII) may be purchased from the court
                   reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                   days to file with the court and the court reporter any request to redact personal
                   identifiers from this transcript. If no such requests are filed, the transcript will be
                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.

                   Redaction Request due 7/8/2022. Redacted Transcript Deadline set for 7/18/2022.
                   Release of Transcript Restriction set for 9/15/2022.(wz) (Entered: 06/17/2022)
06/22/2022   166   MOTION for Inquiry Pursuant to D.C. Rule of Professional Conduct 1.8(e) by USA
                   as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                   HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                   JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                   EDWARD CALDWELL, EDWARD VALLEJO. (Attachments: # 1 Exhibit Mother
                   Jones article, # 2 Exhibit BuzzFeed article, # 3 Exhibit June 16, 2022 letter)(Nestler,
                   Jeffrey) (Entered: 06/22/2022)
06/22/2022   167   SUPERSEDING INDICTMENT as to ELMER STEWART RHODES, III (1)
                   count(s) 1s, 2s, 3s, 4s, 7s, KELLY MEGGS (2) count(s) 1s, 2s, 3s, 4s, 5s, 8s,
                   KENNETH HARRELSON (3) count(s) 1s, 2s, 3s, 4s, 5s, 9s, JESSICA WATKINS
                   (4) count(s) 1s, 2s, 3s, 4s, 5s, 6s, ROBERTO A. MINUTA (6) count(s) 1s, 2s, 3s, 4s,
                   10s, JOSEPH HACKETT (7) count(s) 1s, 2s, 3s, 4s, 5s, 11s, DAVID MOERSCHEL
                   (8) count(s) 1s, 2s, 3s, 4s, 5s, 12s, THOMAS EDWARD CALDWELL (10) count(s)
                   1s, 2s, 3s, 4s, 13s, EDWARD VALLEJO (11) count(s) 1s, 2s, 3s, 4s. (zltp) (Entered:
                   06/23/2022)
06/24/2022


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                   Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference as
                   to ELMER STEWART RHODES III (1), KELLY MEGGS (2), KENNETH
                   HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                   HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                   (10), EDWARD VALLEJO (11) held via videoconference on 6/24/2022. Defendant
                   Rhodes (1) was arraigned on Count 7 of the 167 Superseding Indictment and entered
                   a plea of Not Guilty. With the consent of the parties, pleas of Not Guilty were entered
                   by defendants Rhodes (1), Meggs (2), Harrelson (3), Watkins (4), Minuta (6),
                   Hackett (7), Moerschel (8), Caldwell (10), and Vallejo (11) as to all counts of the 167
                   Superseding Indictment. Supplemental Rule 12 Motions due by 7/8/2022. Status
                   Conference set for 8/2/2022 at 11:00 AM via videoconference before Judge Amit P.
                   Mehta. Members of the public may access the conference by dialing the court's
                   toll−free public access line: (877) 848−7030, access code 321−8747. Bond Status of
                   Defendants: Rhodes (1) remains in−custody, Meggs (2) remains in−custody,
                   Harrelson (3) remains in−custody, Watkins (4) remains in−custody; appearance
                   waived, Minuta (6) remains on PR/HISP, Hackett (7) remains on PR/HISP,
                   Moerschel (8) remains on PR/HISP, Caldwell (10) remains on PR/HISP; appearance
                   waived, Vallejo (11) remains on PR/HISP. Court Reporter: William Zaremba;
                   Defense Attorneys: Phillip Linder (1), Lee Bright (1), Stanley Woodward (2), Juli
                   Haller (2), Bradford Geyer (3), Jonathan Crisp (4), William Shipley (6), Angela
                   Halim (7), Scott Weinberg (8), David Fischer (10), and Matthew Peed (11); US
                   Attorneys: Jeffrey Nestler and Kathryn Rakoczy. (zjd) (Entered: 06/28/2022)
06/28/2022   176   MEMORANDUM OPINION AND ORDER denying 82 Motion to Dismiss Count 1;
                   84 Motion to Dismiss Counts 1, 2, 3, and 4; 89 Motion to Dismiss Counts 1, 2, 3, and
                   4; 90 Motion to Dismiss Count 14; 91 Motion to Sever Count 14; 93 Motion for
                   Change of Venue; 94 Motion to Dismiss Count 1; 94 Motion to Strike Surplusage.
                   See the attached MEMORANDUM OPINION AND ORDER for additional details.
                   Signed by Judge Amit P. Mehta on 6/28/2022. (lcapm1) (Main Document 176
                   replaced on 6/30/2022) (zjd). (Entered: 06/28/2022)
06/29/2022   178   TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to ELMER
                   STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                   WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                   MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                   VALLEJO before Judge Amit P. Mehta held on April 8, 2022; Page Numbers:
                   1−107. Date of Issuance: June 29, 2022. Court Reporter/Transcriber: William
                   Zaremba; Telephone number: (202) 354−3249. Transcripts may be ordered by
                   submitting the Transcript Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced
                   above. After 90 days, the transcript m ay be accessed via PACER. Other transcript
                   formats, (multi−page, condensed, PDF or ASCII) may be purchased from the court
                   reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                   days to file with the court and the court reporter any request to redact personal
                   identifiers from this transcript. If no such requests are filed, the transcript will be
                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.


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                   Redaction Request due 7/20/2022. Redacted Transcript Deadline set for 7/30/2022.
                   Release of Transcript Restriction set for 9/27/2022.(wz) (Entered: 06/29/2022)
06/30/2022         MINUTE ORDER denying 177 Motion to Strike. The court is not aware of any basis
                   under the Federal Rules of Criminal Procedure that would enable it to "strike" a filing
                   made on the public record, even one that is not authorized by a defendant or his
                   counsel. Cf. Fed. R. Civ. P. 12(f) (permitting the court to "strike from a pleading...
                   any redundant, immaterial, impertinent, or scandalous matter"). That said, the court
                   recognizes that Mr. Moseley's filing was not made with the consent of Mr. Meggs,
                   his new counsel, or any other counsel in this case. The court therefore will not
                   consider anything that Mr. Moseley has represented or argued in connection with the
                   court's consideration of the D.C. Rule of Professional Conduct 1.8(e) issue.
                   Additionally, the court warns Mr. Moseley that he is no longer counsel of record in
                   this matter for any defendant. If he again makes a filing in this case without either the
                   consent of a represented defendant or this court, the court will not hesitate to impose
                   appropriate sanctions. Signed by Judge Amit P. Mehta on 6/30/2022. (lcapm1)
                   (Entered: 06/30/2022)
07/07/2022         MINUTE ORDER granting 184 Unopposed Motion for Extension of Time to File
                   Supplemental Rule 12 Motions. Defendants shall file their Supplemental Rule 12
                   Motions on or before July 11, 2022. Signed by Judge Amit P. Mehta on 7/6/2022.
                   (lcapm1) (Entered: 07/07/2022)
07/08/2022   186   Memorandum in Opposition by USA as to KELLY MEGGS, KENNETH
                   HARRELSON, JESSICA WATKINS, ROBERTO A. MINUTA, DAVID
                   MOERSCHEL, THOMAS EDWARD CALDWELL re 170 MOTION to Dismiss
                   Case (Superseding Indictment) (Nestler, Jeffrey) (Entered: 07/08/2022)
07/08/2022   187   NOTICE of Government's Motion Regarding Anticipated Trial Evidence and Notice
                   Pursuant to Federal Rule of Evidence 404(b) by USA as to ELMER STEWART
                   RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                   JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                   MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                   VALLEJO (Edwards, Troy) (Entered: 07/08/2022)
07/08/2022   190   MOTION for 404(b) Evidence by USA as to ELMER STEWART RHODES, III,
                   KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, JOSHUA
                   JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL,
                   BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (See
                   docket entry 187 to view document.)(zltp) (Entered: 07/12/2022)
07/14/2022   192   ORDER granting 191 Motion to Modify Conditions of Release as to THOMAS
                   EDWARD CALDWELL (10). See the attached Order for additional details. Signed
                   by Judge Amit P. Mehta on 7/13/2022. (lcapm1) (Entered: 07/14/2022)
07/21/2022         MINUTE ORDER granting 197 Consent Motion for Extension of Time to File
                   Response/Reply to the Government's 190 Rule 404(b) motion as to KELLY MEGGS
                   (2). Defendants shall file their response on or before July 29, 2022. Signed by Judge
                   Amit P. Mehta on 7/21/2022. (lcapm1) (Entered: 07/21/2022)
07/22/2022   198   MOTION to Continue Trial − Redacted by KELLY MEGGS as to ELMER
                   STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                   WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT,
                   DAVID MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL,
                   EDWARD VALLEJO. (Attachments: # 1 Text of Proposed Order)(Woodward,

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                   Stanley) (Entered: 07/22/2022)
07/26/2022   206   Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                   KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS
                   EDWARD CALDWELL re 198 MOTION to Continue Trial − Redacted, 195
                   MOTION to Continue MOTION to Exclude, 193 Joint MOTION to Change Venue
                   Or Continue Trial Date (Nestler, Jeffrey) (Entered: 07/26/2022)
07/29/2022   213   MOTION in Limine TO PRECLUDE CERTAIN DEFENSE ARGUMENTS AT TRIAL
                   by USA as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                   HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                   JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                   EDWARD CALDWELL, EDWARD VALLEJO. (Rakoczy, Kathryn) (Entered:
                   07/29/2022)
07/29/2022   214   MOTION in Limine TO PRECLUDE CERTAIN UNTIMELY AND IRRELEVANT
                   TESTIMONY by USA as to ELMER STEWART RHODES, III, KELLY MEGGS,
                   KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A.
                   MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH,
                   THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Rakoczy, Kathryn)
                   (Entered: 07/29/2022)
07/29/2022   215   MOTION in Limine REGARDING CROSS−EXAMINATION OF U.S. SECRET
                   SERVICE WITNESS by USA as to ELMER STEWART RHODES, III, KELLY
                   MEGGS, KENNETH HARRELSON, JESSICA WATKINS, JOSHUA JAMES,
                   ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN
                   ULRICH, THOMAS EDWARD CALDWELL, EDWARD VALLEJO. (Rakoczy,
                   Kathryn) (Entered: 07/29/2022)
07/29/2022   232   Memorandum in Opposition by KELLY MEGGS re 187 and 190 Notice and Motion
                   for 404(b) Evidence. (See docket entry 219 to view document.)(zltp) (Entered:
                   08/02/2022)
08/01/2022   225   MOTION for Joinder and Attachments by KENNETH HARRELSON re: 193 Joint
                   MOTION to Change Venue Or Continue Trial Date, 194 MOTION to Change
                   Venue, MOTION to Continue, MOTION for Joinder, 195 MOTION to Continue
                   Trial Date and Exclude Time under Speedy Trial Act (Attachments: # 1 Supplement,
                   # 2 Supplement, # 3 Supplement)(Geyer, Bradford) Modified text to include linkage
                   and event type on 8/2/2022 (zltp). (Entered: 08/01/2022)
08/01/2022   226   TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to ELMER
                   STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                   WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                   MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                   Judge Amit P. Mehta held on June 24, 2022; Page Numbers: 1−74. Date of Issuance:
                   August 1, 2022. Court Reporter/Transcriber: William Zaremba; Telephone number:
                   (202) 354−3249, Transcripts may be ordered by submitting the Transcript Order
                   Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced
                   above. After 90 days, the transcript may be accessed via PACER. Other transcript
                   formats, (multi−page, condensed, PDF or ASCII) may be purchased from the court
                   reporter.


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                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
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                   identifiers from this transcript. If no such requests are filed, the transcript will be
                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.

                   Redaction Request due 8/22/2022. Redacted Transcript Deadline set for 9/1/2022.
                   Release of Transcript Restriction set for 10/30/2022.(wz) (Entered: 08/01/2022)
08/02/2022   235   MOTION for Order to Unseal for Limited Purpose of Creating a Transcript by USA
                   as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                   HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                   JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                   EDWARD CALDWELL, EDWARD VALLEJO. (Nestler, Jeffrey) (Entered:
                   08/02/2022)
08/02/2022   237   ORDER granting 235 Motion for Order to Unseal for Limited Purpose of Creating a
                   Transcript. See the attached Order for additional details. Signed by Judge Amit P.
                   Mehta on 8/2/2022. (lcapm1) (Entered: 08/02/2022)
08/02/2022   238   MEMORANDUM OPINION AND ORDER denying Defendants' 170 Motion to
                   Dismiss the Superseding Indictment; Defendant KELLY MEGGS's (2) 188 Motion
                   to Dismiss Counts 1−3 and 5; and Defendant KELLY MEGGS's (2) 189 Motion to
                   Dismiss on the Basis of Selective Prosecution. See the attached Memorandum
                   Opinion and Order for additional details. Signed by Judge Amit P. Mehta on
                   8/2/2022. (lcapm1) (Entered: 08/02/2022)
08/02/2022         Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference as
                   to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                   HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                   HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                   (10), and EDWARD VALLEJO (11) held on 8/2/2022. For the reasons stated on the
                   record, the court denies Defendants' 193 , 195 Joint Motion to Change Venue or
                   Continue Trial Date; Defendant ELMER STEWART RHODES, III's 194 , 201
                   Motion and Amended Motion to Change Venue; Defendant KELLY MEGGS's 198 ,
                   200 Motion to Continue Trial; and Defendant KENNETH HARRELSON's 225
                   Motion to Change Venue or Continue Trial Dates. Government's In−Camera
                   Submission due by 8/5/2022. Status Conferences tentatively set for either 8/22/2022
                   at 1:00 PM or 8/23/2022 at 02:00 PM before Judge Amit P. Mehta. The status
                   conference date will be set via notice of hearing. Members of the public or media
                   may also access the hearing via teleconference by dialing the court's toll−free public
                   access line: (877) 848−7030, access code 321−8747. Bond Status of Defendants:
                   Bond Status of Defendants: Rhodes (1) remains in−custody, Meggs (2) remains
                   in−custody, Harrelson (3) remains in−custody, Watkins (4) remains in−custody,
                   Minuta (6) remains on PR/HISP, Hackett (7) remains on PR/HISP; appearance
                   waived, Moerschel (8) remains on PR/HISP, Caldwell (10) remains on PR/HISP,
                   Vallejo (11) remains on PR/HISP. Court Reporter: William Zaremba; Defense
                   Attorneys: Phillip Linder (1), Lee Bright (1), Stanley Woodward (2), Juli Haller (2),
                   Bradford Geyer (3), David Fischer for Jonathan Crisp (4), William Shipley (6),
                   Angela Halim (7), Scott Weinberg (8), David Fischer (10), and Matthew Peed (11);
                   US Attorneys: Kathryn Rakoczy and Jeffrey Nestler. (zjd) (Entered: 08/04/2022)



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08/04/2022   239   MOTION for Extension of Deadline for Responding to Rule 404(b) Oppositions by
                   USA as to ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH
                   HARRELSON, JESSICA WATKINS, JOSHUA JAMES, ROBERTO A. MINUTA,
                   JOSEPH HACKETT, DAVID MOERSCHEL, BRIAN ULRICH, THOMAS
                   EDWARD CALDWELL, EDWARD VALLEJO. (Edwards, Troy) Modified text and
                   event type on 8/5/2022 (zltp). (Entered: 08/04/2022)
08/04/2022         MINUTE ORDER granting United States' 239 Motion for Extension of Time. The
                   United States shall file its reply to Defendants' Opposition 217 , 218 , 219 to the
                   United States' 187 Rule 404(b) Notice on or before August 12, 2022. Signed by
                   Judge Amit P. Mehta on 8/5/2022. (lcapm1) (Entered: 08/05/2022)
08/11/2022         ***HSD has been filed with the Court. (zjd) (Entered: 08/11/2022)
08/12/2022   247   TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS in case as to ELMER
                   STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                   WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                   MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                   Judge Amit P. Mehta held on August 2, 2022; Page Numbers: 1−147. Date of
                   Issuance: August 12, 2022. Court Reporter/Transcriber: William Zaremba; Telephone
                   number: (202) 354−3249. Transcripts may be ordered by submitting the Transcript
                   Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced
                   above. After 90 days, the transcript may be acces sed via PACER. Other transcript
                   formats, (multi−page, PDF or ASCII) may be purchased from the court reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                   days to file with the court and the court reporter any request to redact personal
                   identifiers from this transcript. If no such requests are filed, the transcript will be
                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.

                   Redaction Request due 9/2/2022. Redacted Transcript Deadline set for 9/12/2022.
                   Release of Transcript Restriction set for 11/10/2022.(wz) (Entered: 08/12/2022)
08/12/2022   249   REPLY in Support by USA as to ELMER STEWART RHODES, III, KELLY
                   MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                   MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                   CALDWELL, EDWARD VALLEJO re 214 MOTION in Limine TO PRECLUDE
                   CERTAIN UNTIMELY AND IRRELEVANT TESTIMONY (Rakoczy, Kathryn)
                   Modified text to remove unassociated defendants on 8/30/2022 (zltp). (Entered:
                   08/12/2022)
08/12/2022   250   Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                   KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                   MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                   CALDWELL, EDWARD VALLEJO re 218 Motion to Exclude (Rakoczy, Kathryn)
                   Modified text to remove unassociated defendants on 8/30/2022 (zltp). (Entered:
                   08/12/2022)
08/12/2022   251

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                   Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                   KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                   MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                   CALDWELL, EDWARD VALLEJO re 219 Motion in Limine 216 Response to
                   404(b) Notice, and 217 Response to 404(b) Notice (Rakoczy, Kathryn) Modified text
                   to remove unassociated defendants on 8/30/2022 (zltp). (Entered: 08/12/2022)
08/12/2022   252   MOTION to Exclude Defense Expert Testimony by USA as to ELMER STEWART
                   RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS,
                   JOSHUA JAMES, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                   MOERSCHEL, BRIAN ULRICH, THOMAS EDWARD CALDWELL, EDWARD
                   VALLEJO. (Rakoczy, Kathryn) Modified text to remove unassociated defendants on
                   8/30/2022 (zltp). (Entered: 08/12/2022)
08/13/2022   255   RESPONSE by KENNETH HARRELSON re 214 MOTION in Limine TO
                   PRECLUDE CERTAIN UNTIMELY AND IRRELEVANT TESTIMONY, 213
                   MOTION in Limine TO PRECLUDE CERTAIN DEFENSE ARGUMENTS AT TRIAL
                   (Geyer, Bradford) Modified text to remove unassociated defendants on 8/30/2022
                   (zltp). (Entered: 08/13/2022)
08/15/2022   257   RESPONSE by KENNETH HARRELSON re 215 MOTION in Limine
                   REGARDING CROSS−EXAMINATION OF U.S. SECRET SERVICE WITNESS, 214
                   MOTION in Limine TO PRECLUDE CERTAIN UNTIMELY AND IRRELEVANT
                   TESTIMONY, 213 MOTION in Limine TO PRECLUDE CERTAIN DEFENSE
                   ARGUMENTS AT TRIAL (Attachments: # 1 Exhibit, # 2 Exhibit)(Geyer, Bradford)
                   Modified text to remove unassociated defenants on 8/30/2022 (zltp). (Entered:
                   08/15/2022)
08/18/2022   259   First MOTION to Sever Defendant by KENNETH HARRELSON (Geyer, Bradford)
                   Modified text to remove unassociated defendants on 8/30/2022 (zltp). (Entered:
                   08/18/2022)
08/19/2022   260   REPLY in Support by USA as to ELMER STEWART RHODES, III, KELLY
                   MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                   MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                   CALDWELL, EDWARD VALLEJO re 215 MOTION in Limine REGARDING
                   CROSS−EXAMINATION OF U.S. SECRET SERVICE WITNESS, 214 MOTION in
                   Limine TO PRECLUDE CERTAIN UNTIMELY AND IRRELEVANT TESTIMONY,
                   213 MOTION in Limine TO PRECLUDE CERTAIN DEFENSE ARGUMENTS AT
                   TRIAL (Manzo, Louis) Modified text to remove unassociated defendants on 9/1/2022
                   (zltp). (Entered: 08/19/2022)
08/19/2022   266   First MOTION for Release of Brady Materials by KENNETH HARRELSON.
                   (Attachments: # 1 Exhibit)(Geyer, Bradford) Modified text to remove unassociated
                   defendants on 9/1/2022 (zltp). (Entered: 08/19/2022)
08/19/2022   267   Memorandum in Opposition by KENNETH HARRELSON re 252 Motion to
                   Exclude, (Attachments: # 1 Exhibit)(Geyer, Bradford) Modified text to remove
                   unassociated defendants on 9/1/2022 (zltp). (Entered: 08/19/2022)
08/20/2022   268   ERRATA by KENNETH HARRELSON re 266 Motion for Release of Brady
                   Materials, (Attachments: # 1 Exhibit, # 2 Exhibit)(Geyer, Bradford) Modified text to
                   remove unassociated defendants on 9/1/2022 (zltp). (Entered: 08/20/2022)
08/20/2022   269


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                   First MOTION in Limine conspiracy with groups, aiding and abetting, did not lead
                   attack, presidential power, res ipsa loquitor, restricted area, guilt by association,
                   stacks, breach, unconnected or inaudible phone calls, completeness and context by
                   KENNETH HARRELSON. (Attachments: # 1 Exhibit, # 2 Exhibit)(Geyer, Bradford)
                   Modified text to remove unassociated defendants on 9/1/2022 (zltp). (Entered:
                   08/20/2022)
08/22/2022   271   Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                   KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                   MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                   CALDWELL, EDWARD VALLEJO re 259 Motion to Sever Defendant, Kenneth
                   Harrelson (Edwards, Troy) Modified text to remove unassociated defendants on
                   9/1/2022 (zltp). (Entered: 08/22/2022)
08/23/2022   272   Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                   KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                   MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                   CALDWELL, EDWARD VALLEJO re 266 Motion for Release of Brady Materials,
                   By Kenneth Harrelson (Edwards, Troy) Modified text to remove unassociated
                   defendants on 9/1/2022 (zltp). (Entered: 08/23/2022)
08/23/2022   273   Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                   KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, ROBERTO A.
                   MINUTA, JOSEPH HACKETT, DAVID MOERSCHEL, THOMAS EDWARD
                   CALDWELL, EDWARD VALLEJO re 269 Motion in Limine By Kenneth
                   Harrelson (Edwards, Troy) Modified text to remove unassociated defendants on
                   9/1/2022 (zltp). (Entered: 08/23/2022)
08/23/2022   275   REPLY TO OPPOSITION to Motion by KENNETH HARRELSON re 259 First
                   MOTION to Sever Defendant KENNETH HARRELSON (Geyer, Bradford) Modified
                   text to remove unassociated defendants on 9/1/2022 (zltp). (Entered: 08/23/2022)
08/23/2022         Minute Entry for proceedings held before Judge Amit P. Mehta: Status Conference as
                   to ELMER STEWART RHODES, III (1), KELLY MEGGS (2), KENNETH
                   HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA (6), JOSEPH
                   HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD CALDWELL
                   (10), and EDWARD VALLEJO (11) held on 8/23/2022. Hearing on Motions in
                   Limine set for 8/30/2022 at 1:30 PM in Courtroom 10 before Judge Amit P. Mehta.
                   Bond Status of Defendants: Rhodes (1) remains in−custody, Meggs (2) remains
                   in−custody, Harrelson (3) remains in−custody, Watkins (4) remains in−custody,
                   Minuta (6) remains on PR/HISP; appearance waived, Hackett (7) remains on
                   PR/HISP, Moerschel (8) remains on PR/HISP, Caldwell (10) remains on PR/HISP,
                   Vallejo (11) remains on PR/HISP; Court Reporter: William Zaremba; Defense
                   Attorneys: Phillip Linder (1), James Bright (1), Stanley Woodward (2), Juli Haller
                   (2), Bradford Geyer (3), Jonathan Crisp (4), William Shipley (6), Angela Halim (7),
                   David Fischer and Connor Martin for Scott Weinberg (8), David Fischer (10) and
                   Matthew Peed (11); US Attorneys: Kathryn Rakoczy and Jeffrey Nestler. (zjd)
                   (Entered: 08/24/2022)
08/28/2022   280   Joint MOTION in Limine to bar Zello Communications by KELLY MEGGS as to
                   ELMER STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON,
                   JESSICA WATKINS. (Attachments: # 1 Text of Proposed Order)(Haller, Juli)
                   (Entered: 08/28/2022)



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08/30/2022   283   REPLY TO OPPOSITION to Motion by KENNETH HARRELSON re 266 First
                   MOTION for Release of Brady Materials (Attachments: # 1 Certificate of Service
                   Checklist of Demanded, # 2 Exhibit Checklist of Claimed but not produced, # 3
                   Exhibit Missing Productions from known persons, # 4 Exhibit Updated Expert
                   Requests)(Geyer, Bradford) Modified text to remove unassociated defendants on
                   9/1/2022 (zltp). (Entered: 08/30/2022)
08/30/2022   285   SUPPLEMENT by KENNETH HARRELSON re 267 Memorandum in Opposition,
                   Update Since Last Filing (Attachments: # 1 Exhibit expert access request to Capitol,
                   # 2 Exhibit Snell expert disclosure, # 3 Exhibit Hill expert disclosure)(Geyer,
                   Bradford) Modified text to remove unassociated defendants on 9/1/2022 (zltp).
                   (Entered: 08/30/2022)
08/30/2022   286   AMENDED PRETRIAL ORDER. The court's previous 133 Pretrial Order will
                   govern all dates in this matter except the following with respect to the September
                   Trial Group: (1) the Pretrial Statement is now due on September 9, 2022; (2) a second
                   day of Pretrial Conference will follow on September 15, 2022, at 9:30 a.m.; (3) trial
                   is now set to commence on September 27, 2022, at 9:30 a.m.; and (4) the court will
                   not sit on October 5 or 10, 2022. See the attached Order for additional details. Signed
                   by Judge Amit P. Mehta on 8/30/2022. (lcapm1) (Entered: 08/30/2022)
08/30/2022         Minute Entry for proceedings held before Judge Amit P. Mehta: Hearing on Motions
                   in Limine as to ELMER STEWART RHODES, III (1), KELLY MEGGS (2),
                   KENNETH HARRELSON (3), JESSICA WATKINS (4), ROBERTO A. MINUTA
                   (6), JOSEPH HACKETT (7), DAVID MOERSCHEL (8), THOMAS EDWARD
                   CALDWELL (10), EDWARD VALLEJO (11) held on 8/30/2022. Bond Status of
                   Defendants: Rhodes (1) remains in−custody, Meggs (2) remains in−custody,
                   Harrelson (3) remains in−custody, Watkins (4) remains in−custody, Minuta (6)
                   remains on PR/HISP, Hackett (7) remains on PR/HISP; appearance waived,
                   Moerschel (8) remains on personal recognizance; appearance waived, Caldwell (10)
                   remains on PR/HISP; Vallejo (11) remains on PR/HISP. Court Reporter: William
                   Zaremba; Defense Attorneys: James Lee Bright (1), Stanley Woodward (2), Juli
                   Haller (2) Bradford Geyer (3), David Fischer for Jonathan Crisp (4), David Fischer
                   for William Shipley (6), Angie Halim (7), Scott Weinberg (8), David Fischer (10),
                   Matthew Peed (11); US Attorneys: Kathryn Rakoczy, Jeffrey Nestler, Troy Edwards,
                   Louis Manzo, Alexandra Hughes, and Justin Sher. (zjd) (Entered: 08/31/2022)
09/06/2022   288   OMNIBUS ORDER re: certain motions in limine. The court orders the following: (1)
                   the United States' 190 Motion for 404(b) Evidence is granted in part and denied in
                   part; (2) Defendant KELLY MEGGS's (2) 219 Motion to Bar the Introduction of
                   Certain of that Evidence is denied; (3) the United States' 213 Motion in Limine to
                   Preclude Certain Defense Arguments at Trial is granted; (4) the United States' 214
                   Motion in Limine to Preclude Certain Untimely and Irrelevant Testimony is granted
                   in part and denied in part; (5) the United States' 215 Motion in Limine Regarding
                   Cross−Examination of U.S. Secret Service Witness is granted; (6) the court defers
                   ruling on Defendant EDWARD VALLEJO's (11) 218 Motion in Limine to Exclude
                   Expert Testimony of Dr. Sam Jackson, Ph.D.; (7) Defendant KELLY MEGGS's (2)
                   221 Join Motion in Limine is denied; and (8) the court defers ruling on the
                   government's 252 Motion to Exclude Defense Expert Testimony Due to Insufficient
                   Notice. The court stated its reasons for these rulings on the record at the hearing held
                   on August 30, 2022. See the attached Order for additional details. Signed by Judge
                   Amit P. Mehta on 9/6/2022. (lcapm1) (Entered: 09/06/2022)



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09/06/2022         MINUTE ORDER. The United States and Defendant ELMER STEWART
                   RHODES, III's (1) counsel of record, separately, may file a response to the 290
                   Motion to Substitute Counsel and Continue Trial by September 7, 2022, at 2:00 p.m.
                   Signed by Judge Amit P. Mehta on 9/6/2022. (lcapm1) (Entered: 09/06/2022)
09/06/2022   291   Status and Progress Report by KENNETH HARRELSON system prevents linkage to
                   267 and 285 (Attachments: # 1 Supplement)(Geyer, Bradford) Modified text to
                   remove unassociated defendants on 9/13/2022 (zltp). (Entered: 09/06/2022)
09/06/2022   292   Memorandum in Opposition by USA as to ELMER STEWART RHODES, III,
                   KELLY MEGGS, KENNETH HARRELSON, JESSICA WATKINS, THOMAS
                   EDWARD CALDWELL re 280 Motion in Limine re Zello communications (Nestler,
                   Jeffrey) (Entered: 09/06/2022)
09/07/2022   294   ORDER denying the following motions by Defendant KENNETH HARRELSON
                   (3): 259 Motion to Sever Defendant; 266 Motion for Release of Brady Materials; 269
                   Motion in Limine. See the attached Order for additional details. Signed by Judge
                   Amit P. Mehta on 9/7/2022. (lcapm1) (Entered: 09/07/2022)
09/09/2022   298   TRANSCRIPT OF MOTIONS HEARING PROCEEDINGS in case as to ELMER
                   STEWART RHODES, III, KELLY MEGGS, KENNETH HARRELSON, JESSICA
                   WATKINS, ROBERTO A. MINUTA, JOSEPH HACKETT, DAVID
                   MOERSCHEL, THOMAS EDWARD CALDWELL, EDWARD VALLEJO before
                   Judge Amit P. Mehta held on August 30, 2022; Page Numbers: 1−170. Date of
                   Issuance: September 9, 2022. Court Reporter/Transcriber: William Zaremba;
                   Telephone number: (202) 354−3249. Transcripts may be ordered by submitting the




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




UNITED STATES                                                                Case No.

                                                                             22-cr-15

                    v.

                                                                   Assigned to the Honorable
                                                                     Judge Amit Mehta
KENNETH HARRELSON

                            Defendant.


                                           NOTICE OF APPEAL

          Comes now Defendant Kenneth Harrelson, by counsel, and notes his appeal of his final

judgment, conviction, and sentencing to the United States Court of Appeals for the District of

Columbia Circuit. This notice is filed without prejudice and with all rights reserved regardless as

to the identity of successor counsel.

          Further, Defendant respectfully requests he be provided with court appointed counsel

given his being in forma pauperis pursuant to the Criminal Justice Act for purposes of his

appeal.

Dated: June 6, 2023                      RESPECTFULLY SUBMITTED
                                         KENNETH HARRELSON, By Counsel
                                         /s/ Brad Geyer

                                         Bradford L. Geyer, PHV
                                         PA 62998
                                         NJ 022751991
                                         Suite 141 Route 130 S., Suite 303
                                         Cinnaminson, NJ 08077
                                         Brad@FormerFedsGroup.Com
                                         (856) 607-5708


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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 6, 2023, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

                                      /s/ Brad Geyer
                                      Bradford L. Geyer, PHV
                                      PA 62998
                                      NJ 022751991
                                      Suite 141 Route 130 S., Suite 303
                                      Cinnaminson, NJ 08077
                                      Brad@FormerFedsGroup.Com
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